                                Exhibit 15




                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       Civil Action No. 1:20-cv-01096

     SUPRIYA KHAZANIE,                  )
                                        )
                                        )
     Plaintiff,                         )           PLAINTIFF’S
                                        )          RESPONSES TO
                                        )          DEFENDANTS’
     v.
                                        )              FIRST
                                        )     REQUESTS FOR ADMISSIONS
     UNIVERSITY OF NORTH                )
     CAROLINA AT CHAPEL HILL,           )
     and KATIE THORNSVARD, in           )
     her individual capacity,           )
                                        )
     Defendants.                        )




          Plaintiff hereby submits the following responses to Defendants First

Requests for Admissions to Plaintiff:



1.        Admit that your continued employment with the University as a

Financial Analyst was contingent upon you successfully completing a 12- month

probationary period. (Conditions of Employment SHRA Permanent

Employee Appointment attached as Exhibit A)




                                        -1-




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RESPONSE: It is admitted that Plaintiff was told that she was hired in a

probationary position which would last for twelve months and that at the end

of that time, she would become a permanent State employee if she had no

performance or conduct issues. It is further admitted that Plaintiff was not

informed of any performance or conduct issues during the entire time she

worked for Defendants. It is further admitted that Defendants’ terminated

Plaintiff in retaliation for her complaining about Defendant Thorsvard’s

discriminatory treatment of Plaintiff.



2.     Admit that your employment with the University was discontinued or

terminated on January 6, 2020 while you were still a probationary employee.



RESPONSE: It is admitted that Plaintiff was told that she was hired in a

probationary position which would last for twelve months and that at the end

of that time, she would become a permanent State employee if she had no

performance or conduct issues. It is further admitted that Plaintiff was not

informed of any performance or conduct issues during the entire time she

worked for Defendants. It is further admitted that Defendants’ terminated

Plaintiff in retaliation for her complaining about Defendant Thorsvard’s


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discriminatory treatment of Plaintiff.



3.     Admit that you did not submit, file, or lodge any formal or informal

complaints or grievances regarding your employment with the University prior

to January 6, 2020.



RESPONSE: Objection to ambiguous and compound question, but otherwise

denied.



4.     Admit that Exhibit B is a true and accurate copy of your SHRA Grievance

Initial Filing Form dated January 17, 2020.



RESPONSE: Admitted.




5.     Admit that you signed the attached Exhibit C, Agreement to Mediate, your

grievance on March 11, 2020 attesting that:

I have read, understand, and accept the above conditions.




                                         -3-




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RESPONSE: It is admitted I signed the Agreement to Mediate and that the

document speaks for itself.



6.      Admit that the executed March 11, 2020 Agreement to Mediate states in

part the following:

4. That either party may request a brief recess at which time they may consult

with legal counsel or other advisors. If an agreement is reached, either party

may have legal counsel or other advisors review the agreement during the

mediation. Due to the time limitations, recesses will be limited to no more than

15 minutes. At the mediator’s discretion, time may be extended as needed.

...

8. If an agreement is reached, the agreement should be binding. Subject to the

approval of the Office of State Human Resources and/or state agency whose

approval is necessary to implement the agreement, and provided the agreement

does not contain any provision contrary to NC Human Resources Commission

policies or rules, or applicable state or federal law.



RESPONSE: It is admitted I signed the Agreement to Mediate and that the

document speaks for itself.


                                        -4-




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7.     Admit that you signed the Memorandum of Settlement Agreement

attached as Exhibit D.



RESPONSE:       It is admitted I signed the Memorandum of Settlement

Agreement and that the document speaks for itself.




8.     Admit that you signed the attached Exhibit D Memorandum of

Settlement Agreement on March 11, 2020 attesting that:

I understand and agree that by signing this Memorandum of Agreement, I

release the Respondent, that applicable Agency, Commission and/or Division,

and the State of North Carolina from any and all claims that I may have related

to my employment and the alleged action(s) that led to this grievance. I further

agree and understand that no further grievance, complaint, legal action or

remedy can be pursued against the Respondent, the applicable Agency,

Commission and/or Division, or the State of North Carolina related to my


                                      -5-




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employment or the actions(s) that led to this grievance.



RESPONSE:       It is admitted I signed the Memorandum of Settlement

Agreement and that the document speaks for itself. It is further admitted that

I conferred with my lawyer who told me that the only way UNC would agree

to change my termination to a resignation was if I signed the Agreement, but

that it was her opinion that if UNC tried to argue that the broad and general

language of the release barred my complaint under federal anti-discrimination

statutes, that we could and would argue the language in the release was not

specific enough to waive any claims under federal civil rights laws, that the

State mediation process was only required by State law and was only intended

to release claims made under Chapter 126 of the North Carolina General

Statutes, and that the State mediation process had no authority to require a

State employee to waive his or her rights under federal law especially

pertaining to the terms and conditions of my employment prior to being

illegally terminated one week before becoming a permanent state employee. I

did not knowingly and voluntarily intend to waive any rights I had under

federal law when I signed the Agreement, only my claims under State law, and

I have never attempted to appeal my termination under State law.


                                       -6-




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9.     Admit that you signed the attached Exhibit D Memorandum of

Settlement Agreement at the conclusion of the mediation on March 11, 2020

attesting that:



I have read, understand, and agree that the above terms of agreement are an

accurate account of the areas of agreement reached in the mediation process and

that all matters in the dispute between the grievant and the agency have been

settled with the terms of this agreement.



RESPONSE:

It is admitted I signed the Memorandum of Settlement Agreement and that

the document speaks for itself. It is further admitted that I conferred with my

lawyer who told me that the only way UNC would agree to change my

termination to a resignation was if I signed the Agreement, but that it was her

opinion that if UNC tried to argue that the broad and general language of the

release barred my complaint under federal anti-discrimination statutes, that

we could and would argue the language in the release was not specific enough

to waive any claims under federal civil rights laws, that the State mediation


                                       -7-




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process was only required by State law and was only intended to apply to

claims under State law, and that the State mediation process had no authority

to require a State employee to waive his or her rights under federal law

especially pertaining to the terms and conditions of my employment prior to

being illegally terminated one week before becoming a permanent state

employee. I did not knowingly and voluntarily intend to waive any rights I

had under federal law when I signed the Agreement, only my claims under

State law, and I have never attempted to appeal my termination under State

law.




10.     Admit that you were represented by counsel at the March 11, 2020

mediation.



RESPONSE: It is specifically denied that my attorney was allowed to be

present or represent me at the mediation. It is admitted that I was allowed to

confer with my attorney during the mediation.



11.     Admit that you voluntarily and knowingly signed Exhibit D.


                                       -8-




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RESPONSE: It is admitted I signed Exhibit D. As stated above, it is further

admitted that I conferred with my lawyer who told me that the only way UNC

would agree to change my termination to a resignation was if I signed the

Agreement, but that it was her opinion that if UNC tried to argue that the

broad and general language of the release barred my complaint under federal

anti-discrimination statutes, that we could and would argue the language in

the release was not specific enough to waive any claims under federal civil

rights laws, that the State mediation process was only required by State law

and only intended to release claims made under Chapter 126 of the North

Carolina General Statutes, and that the State mediation process had no

authority to require a State employee to waive his or her rights under federal

law especially pertaining to the terms and conditions of my employment prior

to being illegally terminated one week before becoming a permanent state

employee. I did not knowingly and voluntarily intend to waive any rights I

had under federal law when I signed the Agreement, only my claims under

State law, and I have never attempted to appeal my termination under State

law.




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12.     Admit that the Memorandum of Settlement Agreement that you

signed on March 11, 2020 was not subject to approval by the Office of State

Human Resources and/or another state agency.



RESPONSE: I have no idea whether the Memorandum of Settlement

Agreement was subject to approval by the Office of State Human Resources

(OSHR), therefore, based on my lack of information and belief about whether

OSHR was required to approval the agreement, I deny this request.



13.     Admit that Exhibit E is a true and accurate copy of the resignation letter

that you signed March 11, 2020.



RESPONSE: It is admitted I signed Exhibit E and that the document speaks

for itself.



14.     Admit that you signed Exhibit E after consulting with your attorney.



RESPONSE: It is admitted that I signed Exhibit E after conferring with my

lawyer who told me that the only way UNC would agree to change my


                                        -10-




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termination to a resignation was if I signed the Agreement, but that it was her

opinion that if UNC tried to argue that the broad and general language of the

release barred my complaint under federal anti-discrimination statutes, that

we could and would argue the language in the release was not specific enough

to waive any claims under federal civil rights laws, that the State mediation

process was only required by State law and only intended to release claims

made under Chapter 126 of the North Carolina General Statutes, and that the

State mediation process had no authority to require a State employee to waive

his or her rights under federal law especially pertaining to the terms and

conditions of my employment prior to being illegally terminated one week

before becoming a permanent state employee.          I did not knowingly and

voluntarily intend to waive any rights I had under federal law when I signed

the Agreement, only my claims under State law, and I have never attempted

to appeal my termination under State law.



15.     Admit that you had an opportunity to consult with an attorney prior to

signing Exhibit E.

RESPONSE: It is admitted that I signed Exhibit E after conferring with my

lawyer who told me that the only way UNC would agree to change my


                                       -11-




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termination to a resignation was if I signed the Agreement, but that it was her

opinion that if UNC tried to argue that the broad and general language of the

release barred my complaint under federal anti-discrimination statutes, that

we could and would argue the language in the release was not specific enough

to waive any claims under federal civil rights laws, that the State mediation

process was only required by State law and only intended to release claims

made under Chapter 126 of the North Carolina General Statutes, and that the

State mediation process had no authority to require a State employee to waive

his or her rights under federal law especially pertaining to the terms and

conditions of my employment prior to being illegally terminated one week

before becoming a permanent state employee.          I did not knowingly and

voluntarily intend to waive any rights I had under federal law when I signed

the Agreement, only my claims under State law, and I have never attempted

to appeal my termination under State law.



16.     Admit that you voluntarily and knowingly signed Exhibit E.



RESPONSE: It is specifically denied that I voluntarily and knowingly signed

Exhibit E with the intention of waiving any rights I had under federal law and


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that I only intended to waive my claims under the State law grievance

procedure and State law, and consistent with this intention, I have never

attempted to appeal my termination under State law.



17.     Admit that you were not under legal duress when you signed Exhibit E.



RESPONSE: Objection to ambiguous request but it is admitted that I was

under legal duress during the mediation because I was not allowed to have my

attorney present with me and because I had been terminated one week shy of

becoming a permanent employee and after I complained about Defendant

Thorsvard’s discriminatory treatment of me.




18.     Admit that you did not receive any payments of money or promises of

payment of money in exchange for signing Exhibit D.



RESPONSE: It is admitted that I have not received any payment of money

from UNC. It is further admitted that the changing of my termination to a

resignation was wholly inadequate consideration for waiving my rights under


                                       -13-




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federal law, but I felt it was adequate consideration for waiving my rights

under State law.




19.     Admit that in accordance with the Exhibit D Memorandum of Agreement,

Terms of Agreement, you were allowed to resign effective January 6, 2020 in

lieu of the University’s discontinuation of your employment as a Financial

Analyst.



RESPONSE: It is admitted that I signed the Agreement and the resignation

letter and in return I agreed not to contest my termination further in the State

grievance process and under State law.




20.     Admit that you were the only employee in Gillings School of Global Public

Health who held the position of Senior Financial Analyst.



RESPONSE: I do not know the classification of other employees in the Gillings


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School of Global Public Health and so I cannot admit this Request for lack of

information and belief; therefore, it is denied.       This response will be

supplemented if additional information is obtained during discovery that

provides me sufficient information and belief to admit it.




21.     Admit that you were allowed to work remotely on March 4, 2019, March

15, 2019, March 29, 2019, April 1, 2019, April 26, 2019, May 23, 2019,

May 24, 2019, June 21, 2019, July 5, 2019, July 8, 2019, July 26, 2019, July

29, 2019, and November 27, 2019.



RESPONSE: I do not know the specific dates on which I was allowed to work

remotely and so I cannot admit this Request for lack of information and belief;

therefore, it is denied.    This response will be supplemented if additional

information is obtained during discovery that provides me sufficient

information and belief to admit it.




                                       -15-




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22.     Admit that you were on vacation from October 10, 2019 until October 27,

2019.



RESPONSE: I do not recall the specific dates on which I was on vacation and

so I cannot admit this Request for lack of information and belief; therefore, it

is denied. This response will be supplemented if additional information is

obtained during discovery that provides me sufficient information and belief to

admit it.




23.     Admit that you received the following training in January of 2019: Using

GradStar to View and Enter Student Awards and Using GradStar to Make

Award Adjustment and Splits.



RESPONSE: It is admitted that I received some training, but it was

inadequate to perform the specific tasks assigned to me, and I had to seek

assistance from others and/or train myself. I do not recall the specific name of


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the training I attended in January 2019, and so I cannot admit this Request

for lack of information and belief; therefore, it is denied. This response will be

supplemented if additional information is obtained during discovery that

provides me sufficient information and belief to admit it.



24.     Admit that you received InfoPorte and Finance Reporting training after

you started working at the University.



RESPONSE: It is admitted that I received some training, but it was

inadequate to perform the specific tasks assigned to me and I had to seek

assistance from others and/or train myself. It is further admitted that I do not

recall the specific name of the training I received, and so I cannot admit this

Request for lack of information and belief; therefore, it is denied. This response

will be supplemented if additional information is obtained during discovery

that provides me sufficient information and belief to admit it.




25.     Admit that you received FERPA, Safe Zone, and Procurement training


                                       -17-




      Case 1:20-cv-01096-TDS-JEP Document 72-15 Filed 03/24/23 Page 17 of 38
after you started working at the University.



RESPONSE: It is admitted that I received some training, but it was

inadequate to perform the specific tasks assigned to me and I had to seek

assistance from others and/or train myself. It is further admitted that I do not

recall the specific name of the training I received, and so I cannot admit this

Request for lack of information and belief; therefore, it is denied. This response

will be supplemented if additional information is obtained during discovery

that provides me sufficient information and belief to admit it.



26.     Admit that you were offered Opening Doors training after you started

working at the University.



RESPONSE: It is admitted that I received some training, but it was

inadequate to perform the specific tasks assigned to me and I had to seek

assistance from others and/or train myself. It is further admitted that I do not

recall the specific name of the training I received, and so I cannot admit this

Request for lack of information and belief; therefore, it is denied. This response

will be supplemented if additional information is obtained during discovery


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that provides me sufficient information and belief to admit it.




27.     Admit that you attended one session of the Opening Doors training while

you were employed with the University.



RESPONSE: RESPONSE: It is admitted that I received some training, but it

was inadequate to perform the specific tasks assigned to me and I had to seek

assistance from others and/or train myself. It is further admitted that I do not

recall the specific name of the training I received, and so I cannot admit this

Request for lack of information and belief; therefore, it is denied. This response

will be supplemented if additional information is obtained during discovery

that provides me sufficient information and belief to admit it.




28.     Admit that you decided not to attend the second session of Opening Doors

training while you were employed with the University.




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RESPONSE: RESPONSE: It is admitted that I received some training, but it

was inadequate to perform the specific tasks assigned to me and I had to seek

assistance from others and/or train myself. It is further admitted that I do not

recall the specific name of the training I received, and so I cannot admit this

Request for lack of information and belief; therefore, it is denied. This response

will be supplemented if additional information is obtained during discovery

that provides me sufficient information and belief to admit it.



29.     Admit that you received Tableau Enterprise training with Bryan Andregg

while you were employed with the University.



RESPONSE: RESPONSE: It is admitted that I received some training, but it

was inadequate to perform the specific tasks assigned to me and I had to seek

assistance from others and/or train myself. It is further admitted that I do not

recall the specific name of the training I received, and so I cannot admit this

Request for lack of information and belief; therefore, it is denied. This response

will be supplemented if additional information is obtained during discovery

that provides me sufficient information and belief to admit it.




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30.     Admit that you were counseled regarding the manner in which you

communicated with other employees while you were employed with the

University.

RESPONSE: It is admitted that Defendant Thorsvard as part of her

discriminatory treatment of me singled me out on occasions for criticism that

she did not subject other employees to even though my communication with

other employees was the same as their communication with fellow employees.

She also accused me of putting my hair down when I talked to male professors.

And she made numerous comments about my eating habits. Defendant

Thorsvard also did not correct other employees who made remarks to me such

as on the occasion one employee called me a diversity hire. It is denied that

Defendant Thorsvard or any other person in the Gillings School ever addressed

any performance or conduct issues, including my communication skills, with

me either in writing or orally that were intended to be taken as serious matters

to be improved.      The comments made by Defendant Thorsvard about my

communication skills were obvious attempts to belittle me and I did not see

them as serious attempts to improve my communication skills because she


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never gave me any specific examples or put anything in writing to me and she

never corrected anyone else for their own communication skills or lack thereof.




31.     Admit that you were counseled regarding being late for work while you

were employed with the University.



RESPONSE:         It is admitted that Defendant Thorsvard as part of her

discriminatory treatment of me singled me out on occasions for criticism for

flexing my time, that is coming in a few minutes after a certain time, and

staying proportionately later to work a full day. To the extent that Defendant

Thorsvard “counseled” me about my coming and going, she did so in order to

treat me differently from other employees and it is denied that Defendant

Thorsvard or any other person in the Gillings School ever addressed any

attendance issues with me either in writing or orally in such a manner that I

understood any serious matter needed to be improved. The comments made

by Defendant Thorsvard about my comings and goings were obvious attempts

to belittle me, such as when she informed the entire working group that I was

going to be flexing my time to attend a yoga retreat, and I did not see them as


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serious attempts to cause me to change my attendance because she never gave

me any specific examples or put anything in writing to me and she never

corrected anyone else for their own communication skills or lack thereof. In

addition, Defendant Thorsvard was frequently out of the office and working

remotely and no one in the office was held accountable for meeting any

particular time and attendance standards.




32.     Admit that you were counseled regarding the amount of time that you

spent socializing with other employees while you were employed with the

University.



RESPONSE: It is admitted that Defendant Thorsvard as part of her

discriminatory treatment of me singled me out on occasions for criticism for

talking to other employees in the generous course of work. To the extent that

Defendant Thorsvard “counseled” me about talking to other employees, she did

so in order to treat me differently from other employees and it is denied that

Defendant Thorsvard or any other person in the Gillings School ever addressed


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any socializing with other employees issues with me either in writing or orally

in such a manner that I understood any serious matter needed to be improved.

The comments made by Defendant Thorsvard about my talking to other

employees, like her comments about my putting my hair down when meetings

with male professors and my eating habits were obvious attempts to belittle

me, and I did not see them as serious attempts to cause me to change who I

talked to because she never gave me any specific examples or put anything in

writing to me and she never corrected anyone else for their own communication

skills or lack thereof. Defendant Thorsvard prided herself on her ability to

keep her subordinates in their offices and away from each other and she

encouraged us to keep our heads down and stay in our offices.




33.     Admit that you were counseled regarding the amount of time that you

spent on the phone while you were employed with the University.

RESPONSE: It is admitted that Defendant Thorsvard as part of her

discriminatory treatment of me singled me out on occasions for criticism for

talking to other employees on the phone in the generous course of work.


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Because she actively discouraged her subordinates to talk to each other or to

leave their offices, the only way to communicate with others was to use the

telephone if email was inefficient for the purpose.        To the extent that

Defendant Thorsvard “counseled” me about being on the phone, she did so in

order to treat me differently from other employees and it is denied that

Defendant Thorsvard or any other person in the Gillings School ever addressed

my use of the telephone with me either in writing or orally in such a manner

that I understood any serious matter needed to be improved. The comments

made by Defendant Thorsvard about my talking on the telephone, like her

comments about my putting my hair down when meetings with male professors

and my eating habits were obvious attempts to belittle me, and I did not see

them as serious attempts to cause me to change who I talked to because she

never gave me any specific examples or put anything in writing to me and she

never corrected anyone else for their use of the telephone.           Defendant

Thorsvard prided herself on her ability to keep her subordinates in their offices

and away from each other and she encouraged us to keep our heads down and

stay in our offices and we had no alternative but to use the telephone to

accomplish our jobs.




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34.     Admit that you spent an excessive time at work engaged in non- work

activities, including but not limited to on-line shopping and asking co- workers

to take photos of your outfits, while you were employed with the University.



RESPONSE: Denied.



        Respectfully submitted, this the 14th day of October 2022.



        /s/ VALERIE L. BATEMAN                /S/ JUNE K. ALLISON
        Valerie L. Bateman                    June K. Allison
        NEW SOUTH LAW FIRM                    NEW SOUTH LAW FIRM
        209 Lloyd Street, Ste 350             233 S. Laurel Avenue
        Carrboro, North Carolina 27510        Charlotte, NC 28207
        Tel: 919-810-3139                     Tel: 704-277-0113
        Fax: 919-823-6383                     Fax: 919-823-6383
        valerie@newsouthlawfirm.com           june@newsouthlawfirm.com
        NC State Bar No. 13417                NC State Bar No. 9673
        Attorneys for Plaintiff               Attorneys for Plaintiff




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              CERTIFICATE OF FILING AND SERVICE


     This is to certify that the undersigned has this day electronically served

the foregoing Plaintiff’s Responses to Defendants’ Requests for

Admission on the following:

                             Kari R. Johnson
                     Special Deputy Attorney General
                       N.C. Department of Justice
                       E-mail: kjohnson@ncdoj.gov


     This the 14th day of October 2022.

                                            /s/ VALERIE L. BATEMAN
                                            Valerie L. Bateman
                                            NEW SOUTH LAW FIRM




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                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       Civil Action No. 1:20-cv-01096

  SUPRIYA KHAZANIE,                     )
                                        )
                                        )
  Plaintiff,                            )           PLAINTIFF’S
                                        )     SUPPLEMENTED / AMENDED
                                        )          RESPONSES TO
  v.
                                        )          DEFENDANTS’
                                        )              FIRST
  UNIVERSITY OF NORTH                   )     REQUESTS FOR ADMISSIONS
  CAROLINA AT CHAPEL HILL,              )
  and KATIE THORNSVARD, in              )
  her individual capacity,              )
                                        )
  Defendants.                           )




        Plaintiff hereby submits the following responses to Defendants First

Requests for Admissions to Plaintiff:

21.     Admit that you were allowed to work remotely on March 4, 2019, March

15, 2019, March 29, 2019, April 1, 2019, April 26, 2019, May 23, 2019,

May 24, 2019, June 21, 2019, July 5, 2019, July 8, 2019, July 26, 2019, July

29, 2019, and November 27, 2019.



RESPONSE: I do not know the specific dates on which I was allowed to work



                                        -1-




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remotely and so I cannot admit this Request for lack of information and belief;

therefore, it is denied.   This response will be supplemented if additional

information is obtained during discovery that provides me sufficient

information and belief to admit it.



Supplemented response:

I do not recall the exact days that I worked from home. I joined UNC after

being in both Investment Banking and Consulting, and had worked from home

regularly prior to UNC. Katie regularly worked from home herself, but did not

allow ANYONE in the department to do so. The few days that I did, she

harassed me with emails, instant messages, and phone calls ALL DAY. My

relatives and spouse that I went to visit can testify that I was harassed the

entire day that I was remotely working, so these days are irrelevant. They are

also especially irrelevant in 2022 in a post pandemic world where almost

anyone is given the ability to work remotely.




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23.     Admit that you received the following training in January of 2019: Using

GradStar to View and Enter Student Awards and Using GradStar to Make

Award Adjustment and Splits.



RESPONSE: It is admitted that I received some training, but it was

inadequate to perform the specific tasks assigned to me, and I had to seek

assistance from others and/or train myself. I do not recall the specific name of

the training I attended in January 2019, and so I cannot admit this Request

for lack of information and belief; therefore, it is denied. This response will be

supplemented if additional information is obtained during discovery that

provides me sufficient information and belief to admit it.



Supplemented response:

I was frustrated that Katie did not provide me with ANY training on how the

systems work, so I contacted the university computer systems / training

centers on my own accord and scheduled these trainings by myself. I also

drove to the offsite offices (off of MLK in Chapel Hill) to attend these trainings.

Katie told me that if I didn’t arrive back at the office within 15 minutes of the


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completion of these that I would have to take vacation time.



24.     Admit that you received InfoPorte and Finance Reporting training after

you started working at the University.



RESPONSE: It is admitted that I received some training, but it was

inadequate to perform the specific tasks assigned to me and I had to seek

assistance from others and/or train myself. It is further admitted that I do not

recall the specific name of the training I received, and so I cannot admit this

Request for lack of information and belief; therefore, it is denied. This response

will be supplemented if additional information is obtained during discovery

that provides me sufficient information and belief to admit it.



Supplemented response:

Again, this is a training I found and completed on my own accord. Katie did

not so much as suggest training to me, and any statement on her part that she

did so would be false.




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25.     Admit that you received FERPA, Safe Zone, and Procurement training

after you started working at the University.



RESPONSE: It is admitted that I received some training, but it was

inadequate to perform the specific tasks assigned to me and I had to seek

assistance from others and/or train myself. It is further admitted that I do not

recall the specific name of the training I received, and so I cannot admit this

Request for lack of information and belief; therefore, it is denied. This response

will be supplemented if additional information is obtained during discovery

that provides me sufficient information and belief to admit it.



Supplemented response:

Again, this is a training I completed on my own because I saw students and

friends that were suffering and needed help. There was a trans person on our

hall who worked in another department who was struggling with their

transition, and I registered for Safe Zone and another one about violence

against women / harassment, and other trainings so that students that passed

by would know that they could come and speak to me. Four students came to

my office within days of this, but Katie got upset that “my door was closed” and


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suggested I tell the students that I did not have the time to speak. These

trainings were NOT suggested by Katie.

Also, these trainings (Safe Zone) is for LGTBQ+ students to have a place to

come speak to someone with zero worries, and it gives the trainee the resources

and lists of people to talk to about getting help. For example, if someone is

transitioning and needs help with bullying, or if a woman is being stalked, how

to change her class schedule. These trainings have nothing to do with finance;

I took them because I thought there was a need to have someone provided this

resource. Katie did not have the sensitivity or temperament to provide this

resource.




26.     Admit that you were offered Opening Doors training after you started

working at the University.



RESPONSE: It is admitted that I received some training, but it was

inadequate to perform the specific tasks assigned to me and I had to seek

assistance from others and/or train myself. It is further admitted that I do not

recall the specific name of the training I received, and so I cannot admit this


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Request for lack of information and belief; therefore, it is denied. This response

will be supplemented if additional information is obtained during discovery

that provides me sufficient information and belief to admit it.



Supplemented response:

I was not offered this training and I do not recall ever attending Opening

Doors. I believe it was an overnight program; I never went anywhere overnight.



27.     Admit that you attended one session of the Opening Doors training while

you were employed with the University.



RESPONSE: It is admitted that I received some training, but it was

inadequate to perform the specific tasks assigned to me and I had to seek

assistance from others and/or train myself. It is further admitted that I do not

recall the specific name of the training I received, and so I cannot admit this

Request for lack of information and belief; therefore, it is denied. This response

will be supplemented if additional information is obtained during discovery

that provides me sufficient information and belief to admit it.

Supplemented response:


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I do not recall ever attending Opening Doors and believe it was an overnight

program; I never went anywhere overnight.




28.     Admit that you decided not to attend the second session of Opening Doors

training while you were employed with the University.



RESPONSE: It is admitted that I received some training, but it was

inadequate to perform the specific tasks assigned to me and I had to seek

assistance from others and/or train myself. It is further admitted that I do not

recall the specific name of the training I received, and so I cannot admit this

Request for lack of information and belief; therefore, it is denied. This response

will be supplemented if additional information is obtained during discovery

that provides me sufficient information and belief to admit it.



Supplemented response:

I do not recall ever attending Opening Doors and believe it was an overnight

program; I never went anywhere overnight.


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29.     Admit that you received Tableau Enterprise training with Bryan Andregg

while you were employed with the University.



RESPONSE: It is admitted that I received some training, but it was

inadequate to perform the specific tasks assigned to me and I had to seek

assistance from others and/or train myself. It is further admitted that I do not

recall the specific name of the training I received, and so I cannot admit this

Request for lack of information and belief; therefore, it is denied. This response

will be supplemented if additional information is obtained during discovery

that provides me sufficient information and belief to admit it.



Supplemented response:

I deny that I received any training from Bryan Anderegg. He talked to me

about our use case and proposed we setup a training. The Data Analytics team

(Deytia and Nick (I believe) were allowed to go) but I was not. I was never

allowed to attend Tableau training, work with any consultants, or advance my


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Tableau training with outside help.




     Respectfully submitted, this the 19th day of December 2022.



     /s/ VALERIE L. BATEMAN                  /S/ JUNE K. ALLISON
     Valerie L. Bateman                      June K. Allison
     NEW SOUTH LAW FIRM                      NEW SOUTH LAW FIRM
     209 Lloyd Street, Ste 350               233 S. Laurel Avenue
     Carrboro, North Carolina 27510          Charlotte, NC 28207
     Tel: 919-810-3139                       Tel: 704-277-0113
     Fax: 919-823-6383                       Fax: 919-823-6383
     valerie@newsouthlawfirm.com             june@newsouthlawfirm.com
     NC State Bar No. 13417                  NC State Bar No. 9673
     Attorneys for Plaintiff                 Attorneys for Plaintiff




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              CERTIFICATE OF FILING AND SERVICE


     This is to certify that the undersigned has this day electronically served

the foregoing Plaintiff’s Supplemented / Amended Responses to

Defendants’ Requests for Admission on the following:

                             Kari R. Johnson
                     Special Deputy Attorney General
                       N.C. Department of Justice
                       E-mail: kjohnson@ncdoj.gov


     This the 19th day of December 2022.

                                            /s/ VALERIE L. BATEMAN
                                            Valerie L. Bateman
                                            NEW SOUTH LAW FIRM




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